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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 ALIGN TECHNOLOGY, INC. ,

                Plaintiff,

        V.
                                                         C.A. No. 17-1646-LPS-CJB
 3SHAPE A/Sand 3SHAPE INC. ,

                Defendants.


 ALIGN TECHNOLOGY, INC. ,

                Plaintiff,

        V.
                                                        C.A. No. 17-1647-LPS-CJB
 3SHAPE A/Sand 3SHAPE INC. ,

                Defendants.


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                                  MEMORANDUM OPINION
September 7, 2018
Wilmington, Delaware
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        Plaintiff Align Technology, Inc. ("Align") filed four separate suits against Defendants

3Shape A/Sand 3Shape Inc. (together, "3Shape" or "Defendants") on November 14, 2017. On

February 2, 2018, 3Shape moved to dismiss the complaints in Civil Action Nos. 17-1646-LPS-

CJB and 17-1647-LPS-CJB (the "Complaints") for failure to state a claim, pursuant to Federal

Rule of Civil Procedure 12(b)(6), based on its contention that Align failed to plausibly allege

direct, indirect, and willful infringement of all asserted patents and that certain of the asserted

patents are not directed to patent-eligible subject matter under 35 U.S .C. § 101. (C.A. No. 17-

1646-LPS-CJB D.I. 21; C.A. No. 17-1647-LPS-CJB D.I. 21) 3Shape' s motions are fully briefed

and the Court heard oral argument on July 20, 2018. (See D.I. 55 ("Tr."))

        For the reasons stated below, the Court will grant in part and deny in part Defendants'

motions to dismiss.

I.      BACKGROUND

        The parties are competitors in the field of intraoral scanners and software. (D.I. 1 at~ 29)

Align is a global medical device company selling products such as the iTero intraoral scanner

and OrthoCAD software, both of which "help dental and orthodontic professionals deliver

effective, cutting-edge dental and orthodontic options to their patients." (D.I. 1 at~ 23; D.I. 25 at

2) 3Shape "designs, develops, manufactures, and markets the TRIOS and TRIOS 3 scanners, as

well as related Dental Software products" such as the Implant Studio, Ortho System, Ortho

Analyzer, Ortho Planner, Appliance Designer, and Ortho Control Patent. (D.I. 1 at~ 28; D.I. 25

at 2)

        On November 14, 2017, Align filed four actions against 3Shape in this District. The


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patents asserted in each action are as follows:

               C.A. No. 17-1646-LPS-CJB: United States Patent Nos. 9,510,757;
               7,112,065 ("'065 patent"); 9,451 ,873 ('" 873 patent"); 9,299,192;
               9,427,916; 8,454,364; and 8,845,330. (C.A. No. 17-1646-LPS-
               CJB D.I. 1 at ,r,r 16-22)

               C.A. No. 17-1647-LPS-CJB: U.S. Patent Nos. 9,566,132;
               8,545,221 ; 8,092,215 ; 7,056,115 ; 8,734,149 ('" 149 patent"); and
               6,227,850 ('" 850 patent"). (C.A. No. 17-1647-LPS-CJB D.I. 1 at
               ,r,r 16-21)
               C.A. No. 17-1648-LPS-CJB: U.S. Patent Nos. 7,092,107 ('" 107
               patent"); 9,615,901 ; 8,638,448; 8,638,447; 6,845,175; and
               6,334,853. (C.A. No. 17-1648-LPS-CJB D.I. 1 at,r,r 16-21)

               C.A. No. 17-1649-LPS-CJB: U.S . Patent Nos. 6,948,931 ;
               6,685,470; 6,514,074 ('"074 patent"); 8,363 ,228; 8,451 ,456;
               8,675,207; and 9,101 ,433. (C.A. No. 17-1649-LPS-CJB D.I. 1 at
               ,r,r 16-22)
In total, Align asserts 26 patents, all of which relate to "dental scanning technology." (C.A. No.

17-1646-LPS-CJB D.I. 22 at 1)

       Align also filed two complaints with the International Trade Commission ("ITC"),

involving 11 of the 26 patents also at issue here. The ITC instituted investigations as to those 11

patents on December 14, 2017. (C.A. No. 17-1646-LPS-CJB D.I. 15 at 1) The 11 patents

involved in the ITC proceedings include all but one of the patents at issue in C.A. No. 17-1648-

LPS-CJB (the ' 107 patent) and all but one at issue in C.A. No. 17-1649-LPS-CJB (the '074

patent).

       3 Shape moved to stay all four District Court actions pending the ITC investigations. All

of the patents subject to the ITC investigations were subject to a mandatory stay; Align stipulated

on January 23, 2018 to a stay of both C.A. Nos. 17-1648-LPS-CJB and 17-1649-LPS-CJB as to



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all claims, pending resolution of the ITC investigations. (C.A. No. 17-1648-LPS-CJB D.I. 19;

C.A. No. 17-1649-LPS-CJB D.I. 20) 3Shape's motions to stay as to C.A. Nos. 17-1646-LPS-

CJB and 17-164 7-LPS-CJB remained pending. 1

       On February 1, 2018, 3Shape moved to dismiss the Complaints in C.A. Nos. 17-1646-

LPS-CJB and 17-1647-LPS-CJB for failing to plausibly allege direct, indirect, and willful

infringement of any of the 13 patents asserted in those actions (hereinafter, the "asserted patents"

or "patents-in-suit"). (C.A. No. 17-1646-LPS-CJB D.I. 21 ; C.A. No. 17-1647-LPS-CJB D.I. 21)

3Shape' s motions further sought to dismiss patent infringement claims as to some of the asserted

patents on the grounds that they claim ineligible subject matter under Section 101. Specifically,

this portion of 3Shape' s motions is directed to the ' 873 and ' 065 patents in C.A. No. 17-1646-

LPS-CJB and the '850 and ' 149 patents in C.A. No. 17-1647-LPS-CJB.2

II.    LEGAL STANDARDS

       A.      Rule 12(b)(6) Motion to Dismiss

       Evaluating a motion to dismiss under Federal Rule of Civil Procedure 12(b)( 6) requires

the Court to accept as true all material allegations of the complaint. See Spruill v. Gillis, 372

F .3d 218, 223 (3d Cir. 2004). "The issue is not whether a plaintiff will ultimately prevail but

whether the claimant is entitled to offer evidence to support the claims." In re Burlington Coat


        1
        By separate Memorandum Order issued concurrently with this Memorandum Opinion,
the Court has denied 3Shape' s motions to stay.
       2
          The Court addresses both motions together because the content of the briefs, as they
pertain to the plausibility of Align' s allegations of direct, indirect, and willful infringement, are
essentially the same, reflecting that the counts in the Complaints "follow a single format. " (C.A.
No. 17-1646-LPS-CJB D.I. 22 at 2; C.A. No. 17-1647-LPS-CJB D.I. 22 at 2) For simplicity,
hereinafter the Court will cite to the documents filed in C.A. No. 17-1646-LPS-CJB unless
otherwise indicated.

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Factory Sec. Litig. , 114 F.3d 1410, 1420 (3d Cir. 1997) (internal quotation marks omitted).

Thus, the Court may grant such a motion to dismiss only if, after "accepting all well-pleaded

allegations in the complaint as true, and viewing them in the light most favorable to plaintiff,

plaintiff is not entitled to relief." Maio v. Aetna, Inc. , 221 F.3d 472, 481-82 (3d Cir. 2000)

(internal quotation marks omitted).

       A well-pleaded complaint must contain more than mere labels and conclusions. See

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell At!. Corp. v. Twombly, 550 U.S. 544, 555

(2007). A plaintiff must plead facts sufficient to show that a claim has substantive plausibility.

See Johnson v. City of Shelby, 135 S. Ct. 346, 347 (2014). A complaint may not be dismissed,

however, for imperfect statements of the legal theory supporting the claim asserted. See id. at

346.

       "To survive a motion to dismiss, a civil plaintiff must allege facts that 'raise a right to

relief above the speculative level on the assumption that the allegations in the complaint are true

(even if doubtful in fact)."' Victaulic Co. v. Tieman , 499 F.3d 227, 234 (3d Cir. 2007) (quoting

Twombly, 550 U.S . at 555). A claim is facially plausible "when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged." Iqbal, 556 U.S. at 678. At bottom, "[t]he complaint must state enough

facts to raise a reasonable expectation that discovery will reveal evidence of [each] necessary

element" of a plaintiffs claim. Wilkerson v. New Media Tech. Charter Sch. Inc., 522 F.3d 315,

321 (3d Cir. 2008) (internal quotation marks omitted).

       The Court is not obligated to accept as true "bald assertions," Morse v. Lower Merion

Sch. Dist. , 132 F.3d 902, 906 (3d Cir. 1997) (internal quotation marks omitted), "unsupported


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conclusions and unwarranted inferences," Schuylkill Energy Res. , Inc. v. Pa. Power & Light Co.,

113 F.3d 405,417 (3d Cir. 1997), or allegations that are "self-evidently false," Nami v. Fauver,

82 F.3d 63, 69 (3d Cir. 1996).

       B.      Patentable Subject Matter

       Under 35 U.S.C. § 101, "[w]hoever invents or discovers any new and useful process,

machine, manufacture, or composition of matter, or any new and useful improvement thereof,

may obtain a patent therefor, subject to the conditions and requirements of this title." There are

three exceptions to § 101 ' s broad patent-eligibility principles: "laws of nature, physical

phenomena, and abstract ideas." Diamond v. Chakrabarty, 447 U.S. 303 , 309 (1980). "Whether

a claim recites patent eligible subject matter is a question of law which may contain disputes over

underlying facts ." Berkheimer v. HP Inc., 881 F.3d 1360, 1368 (Fed. Cir. 2018).

       In Mayo Collaborative Services v. Prometheus Laboratories, Inc., 132 S. Ct. 1289 (2012),

the Supreme Court set out a two-step "framework for distinguishing patents that claim laws of

nature, natural phenomena, and abstract ideas from those that claim patent-eligible applications

of those concepts." Alice Corp. Pty. Ltd. v. CLS Bank Int '!, 134 S. Ct. 2347, 2355 (2014). First,

courts must determine if the claims at issue are directed to a patent-ineligible concept ("step

one"). See id. If so, the next step is to look for an '"inventive concept' - i.e., an element or

combination of elements that is sufficient to ensure that the patent in practice amounts to

significantly more than a patent upon the [ineligible concept] itself' ("step two"). Id. The two

steps are "plainly related" and "involve overlapping scrutiny of the content of the claims." Elec.

Power Grp., LLC v. Alstom SA., 830 F.3d 1350, 1353 (Fed. Cir. 20 16).

       At step one, "the claims are considered in their entirety to ascertain whether their


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character as a whole is directed to excluded subject matter." Internet Patents Corp. v. Active

Network, Inc., 790 F.3d 1343, 1346 (Fed. Cir. 2015) (emphasis added); see also Affinity Labs of

Texas, LLC v. DIRECTV, LLC, 838 F.3d 1253, 1257 (Fed. Cir. 2016) ("Affinity Labs I") (stating

first step "calls upon us to look at the ' focus of the claimed advance over the prior art' to

determine if the claim' s ' character as a whole ' is directed to excluded subject matter").

       In conducting the step one analysis, courts should not "oversimplif[y]" key inventive

concepts or "downplay" an invention' s benefits. Enfish, LLC v. Microsoft Corp., 822 F.3d 1327,

1337-38 (Fed. Cir. 2016); see also McRO, Inc. v. Bandai Namco Games Am. Inc., 837 F.3d 1299,

1313 (Fed. Cir. 2016) (" [C]ourts ' must be careful to avoid oversimplifying the claims' by

looking at them generally and failing to account for the specific requirements of the claims.")

(quoting In re TL! Commc 'ns LLC Patent Litig. , 823 F.3d 607, 611 (Fed. Cir. 2016)).

       At step two, courts must "look to both the claim as a whole and the individual claim

elements to determine whether the claims contain an element or combination of elements that is

sufficient to ensure that the patent in practice amounts to significantly more than a patent upon

the ineligible concept itself." McRo, 837 F.3d at 1312 (internal brackets and quotation marks

omitted). The "standard" step two inquiry includes consideration of whether claim elements

"simply recite 'well-understood, routine, conventional activit[ies]. "' Bascom Glob. Internet

Servs. , Inc. v. AT&T Mobility LLC, 827 F.3d 1341 , 1350 (Fed. Cir. 2016) (quoting Alice, 134 S.

Ct. at 2359). "Simply appending conventional steps, specified at a high level of generality, [is]

not enough to supply an inventive concept." Alice, 134 S. Ct. at 2357 (internal quotation marks

omitted; emphasis in original).

       However, "[t]he inventive concept inquiry requires more than recognizing that each claim


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element, by itself, was known in the art." Bascom, 827 F.3d at 1350. In Bascom, the Federal

Circuit held that "the limitations of the claims, taken individually, recite generic computer,

network and Internet components, none of which is inventive by itself," but nonetheless

determined that an ordered combination of these limitations was patent-eligible under step two.

Id. at 1349.

       The Federal Circuit recently elaborated on the step two standard, stating that "[t]he

question of whether a claim element or combination of elements is well-understood, routine and

conventional to a skilled artisan in the relevant field is a question of fact. Any fact, such as this

one, that is pertinent to the invalidity conclusion must be proven by clear and convincing

evidence." Berkheimer, 881 F.3d at 1368; see also Aatrix Software, Inc. v. Green Shades

Software, Inc., 882 F.3d 1121, 1128 (Fed. Cir. 2018) ("While the ultimate determination of

eligibility under § 101 is a question of law, like many legal questions, there can be subsidiary fact

questions which must be resolved en route to the ultimate legal determination."); Automated

Tracking Sols., LLC v. Coca-Cola Co., 723 F. App' x 989, 995 (Fed. Cir. 2018) ("We have held

that ' whether a claim element or combination of elements is well-understood, routine and

conventional to a skilled artisan in the relevant field is a question of fact."') (quoting Berkheimer,

881 F.3d at 1368).

       "Whether a particular technology is well-understood, routine, and conventional goes

beyond what was simply known in the prior art. The mere fact that something is disclosed in a

piece of prior art, for example, does not mean it was well-understood, routine, and conventional."

Berkheimer, 881 F.3d at 1369; see also Exergen Corp. v. Kaz USA Inc., 725 F. App'x 959, 965

(Fed. Cir. 2018) ("Something is not well-understood, routine, and conventional merely because it


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is disclosed in a prior art reference. There are many obscure references that nonetheless qualify

as prior art.").

        As part of the step two "inventive concept" inquiry, the Federal Circuit has looked to the

claims as well as the specification. See Affinity Labs of Texas, LLC v. Amazon.com Inc., 838

F.3d 1266, 1271 (Fed. Cir. 2016) ("Affinity Labs If') ("[N]either the claim nor the specification

reveals any concrete way of employing a customized user interface."). Still, it is not enough just

to disclose the improvement in the specification; instead, the Court's task becomes to "analyze

the asserted claims and determine whether they capture these improvements." Berkheimer, 881

F.3d at 1369 (emphasis added). In other words, " [t]o save a patent at step two, an inventive

concept must be evident in the claims." RecogniCorp, LLC v. Nintendo Co. , Ltd., 855 F.3d

1322, 1327 (Fed. Cir. 2017) (emphasis added); see also Alice, 134 S. Ct. at 2357 ("[W]e must

examine the elements of the claim to determine whether it contains an 'inventive concept."')

(emphasis added); Synopsys, Inc. v. Mentor Graphics Corp., 839 F.3d 1138, 1149 (Fed. Cir.

2016) ("The§ 101 inquiry must focus on the language of the Asserted Claims themselves.").

        At both steps one and two, it is often useful for the Court to compare the claims at issue

with claims that have been considered in the now considerably large body of decisions applying

§ 101. See Amdocs (Israel) Ltd. v. Openet Telecom, Inc., 841 F.3d 1288, 1294 (Fed. Cir. 2016).

        Finally, as a procedural matter, the Federal Circuit has observed frequently that

§ 101 disputes may be amenable to resolution on motions for judgment on the pleadings, motions

to dismiss, or summary judgment. See, e.g., Berkheimer, 881 F.3d at 1368 ("Whether a claim

recites patent eligible subject matter is a question of law which may contain disputes over

underlying facts. Patent eligibility has in many cases been resolved on motions to dismiss or


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summary judgment. Nothing in this decision should be viewed as casting doubt on the

propriety of those cases. When there is no genuine issue of material fact regarding whether the

claim element or claimed combination is well-understood, routine, conventional to a skilled

artisan in the relevant field, this issue can be decided on summary judgment as a matter of law.")

(emphasis added); buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1351-52 (Fed. Cir. 2014)

(affirming grant of Rule 12(c) motion for judgment on pleadings for lack of patentable subject

matter).

IV.        DISCUSSION

           A.     Plausibly Pleaded Allegations of Infringement

           3Shape challenges the sufficiency of Align' s allegations regarding direct, indirect, and

willful infringement of the asserted patents on numerous grounds. The Court will address each

in turn.

                   1.     Direct Infringement of All Asserted Patents

           In order to "survive a motion to dismiss under Rule 12(b)(6), a complaint must contain

sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face. "

Nalco Co. v. Chem-Mod, LLC, 883 F.3d 1337, 1347 (Fed. Cir. 2018) (internal quotation marks

and citation omitted). This does not require that a plaintiff '" prove its case at the pleading

stage."' Id. at 1350 (citation omitted). Additionally, the "'Federal Rules of Civil Procedure do

not require a plaintiff to plead facts establishing that each element of an asserted claim is met. "'

Id. (citation omitted). Instead, the complaint must merely "place the potential infringer ... on

notice of what activity ... is being accused of infringement." Id. (internal quotation marks and

citation omitted).


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       3Shape argues that the allegations of direct infringement in the Complaints are

insufficient because they "fail to tie the Accused Products or actions of any part to the elements

of the asserted patent claims." (D.I. 22 at 5) Align responds that its allegations give 3Shape "fair

notice of what activity is being accused of infringement" and that "[n ]o greater detail is

required." (D.I. 25 at 6) The Court concludes that Align has sufficiently alleged direct

infringement.

       Each of the counts in the Complaints follows essentially the same format: reciting the

language of a representative claim, alleging that the accused products practice that claim, and

providing examples drawn from "product documentation, demonstration and informational

videos, user manuals, and/or promotional materials" demonstrating the alleged use of some

aspect of the accused product of the products performing at least some of the requirements of the

representative claim. For example, Count Two in C.A. 17-1646-LPS-CJB alleges infringement

of at least claim 28 the '192 patent. (D.I. 1 at 1 49) As described in that Complaint, "[t]he '192

patent is directed to modifying a virtual model of a physical structure with additional 3D data

obtained from the physical structure to provide a modified virtual model." (Id. at 148) That

paragraph goes on to recite the language of claim 28, which claims:

                28.    A system to generate a modified virtual model of a physical
                structure, comprising:

                a display to display images of said modified virtual model; and

                a computer system operatively connected to the display and
                comprising a program that, when executed by the computer system,
                causes the computer system to, display an image of a first virtual
                model generated from

                       first 3D scan data of the physical structure on the display,


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                        wherein said first virtual model fails to properly represent a
                        first physical part of the physical structure,

                        receive user input identifying at least a portion of the first
                        virtual model that is desired to be modified, the user input
                        generated by user interaction with the image of the first
                        virtual model on the display,

                        receive a second virtual model of the physical structure, the
                        second virtual model generated from second 3D scan data
                        of the physical structure, and

                        modify the first virtual model by replacing at least said
                        identified portion of the first virtual model with a
                        corresponding portion of the second virtual model, thereby
                        providing the modified virtual model.

(' 192 patent, cl. 28; see also D.I. 1 at 1 48) The next paragraph states that the accused products

infringe at least that claim, and proceeds to reiterate the requirements of the claim. (D.I. 1 at

149)

          The Complaint then includes two images drawn from marketing videos for the accused

products that purport to show that the accused products practice claim 28. (Id. at 18-19) The

first image depicts two graphical models of teeth side-by-side, the first being a representation of

an area of teeth obscured by saliva and the second a representation of that same area without the

saliva:




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(Id. at 18) The second image shows a virtual representation of an area of teeth with digital

artifacts, or areas that were not scanned properly. (Id. at 19) Text overlaying the image indicates

that artifacts are trimmed away and the area is rescanned. (Id.)




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                                                                          2. 180 views




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       The Court finds that the allegations and images described above are sufficient to place

3 Shape on notice of what activity of its is being accused of infringement. See Nalco Co., 883

F.3d at 1350. The first section of claim 28 requires a display, a computer system connected to

that display, and a program that causes the system to display a 3D model. (' 192 patent, col.

32:40-48) The computer, display, and 3D model are depicted in the second image above.

Further limitations require a 3D scan of a structure that is displayed but fails to properly represent

a part of the scanned structure. (Id., col. 32:49-51) This is evident from the saliva obscuring the

teeth in the first image and the artifacts in the second image. Still further limitations require user

input to identify the improperly represented portion of the first model and that the improperly

represented part of the first 3D scan is then replaced by a corresponding portion of a second

scanned structure model. (Id., col. 32:52-62) This is evident from the second image and its

instruction that the artifacts from a scan can be fixed by being "trim[med] away" and then

rescanning the structure at issue (here, teeth).

       In the Court's view, Plaintiff's allegations are sufficient to give Defendants fair notice of

how it is their accused products are alleged to infringe the asserted patents. See Disc Disease

Sols. Inc. v. VGH Sols. , Inc., 888 F.3d 1256, 1260 (Fed. Cir. 2018) (finding allegations that

accused products "meet 'each and every element of at least one claim of'" asserted patents, along

with identifying accused products by name and attaching photos of product packaging and

patents, sufficient to provide defendant with "fair notice of infringement of the asserted patents"

where "case involve[d] a simple technology" and "[t]he asserted patents ... consist of only four

independent claims"). To require anything more at this stage of the case would require the

equivalent of infringement contentions, which is more than the law demands. See, e.g.,


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Transcript of Oral Argument Hearing dated Dec. 5, 2017, Hanesbrands, Inc. v. Jacques Moret,

Inc., Civil Action No. 17-595-LPS at 30-31 (hereinafter the "Hanesbrands Transcript")

("Essentially in my view, defendant asks for something analogous or akin to infringement

contentions to be contained in the complaint. . . . And I' m not persuaded that the Supreme Court

or the Federal Circuit or any other authority requires that that be done ... "); N Star Innovations,

Inc. v. Micron Tech. , Inc., Civil Action No. 17-506-LPS-CJB, 2017 WL 5501489, at *3 (D. Del.

Nov. 15, 2017) (explaining that sufficiently pleading direct infringement does not mean that

"patentee will necessarily have to provide, along with its complaint, the equivalent of the detailed

infringement charts that are called for by typical initial patent disclosures in this District"). 3

                2.      Direct Infringement of the Asserted Method Claims

       3Shape further argues that Align's allegations regarding direct infringement of certain

method claims are insufficiently pleaded. In order to be liable for direct infringement of a

method claim, the alleged infringer "' must perform all the steps of the claimed method, either

personally or through another acting under his direction or control. "' Courtesy Prods. , L.L. C. v.

Hamilton Beach Brands, Inc. , 73 F. Supp. 3d 435, 439 (D. Del. 2014) (quoting Akamai Techs.,



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         3Shape also asserted for the first time in its reply brief in C.A. 17-1646-LPS-CJB that
Count One (alleging infringement of the ' 757 patent) and Count Three (alleging infringement of
the '065 patent) contain images that pre-date the priority date of the patents. (D.I. 29 at 2)

        Align disputes that the cited material pre-dates the priority date of the patent, and that
even if the product featured in the video does pre-date the patent, it is not necessarily an
invalidating piece of prior art. (Tr. at 65-66)

        The Court agrees that this argument presents a factual dispute not appropriate for
resolution at the Rule 12(b)(6) stage. The Court is not in a position to assess the '757 patent's
(or any other patent's) priority date, nor will it make a determination as to whether a piece of
purported prior art is invalidating at this early stage of the case.

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Inc. v. Limelight Networks, Inc., 692 F.3d 1301 , 1307 (Fed. Cir. 2012)). The plaintiff must also

specify "which entity is responsible for any particular infringing activity." N Star Innovations,

Inc. v. Toshiba Corp., Civil Action No. 16-115-LPS-CJB, 2016 WL 7107230, at *2 (D. Del. Dec.

6, 2016); see also M2M Sols. LLC v. Telic Commc 'ns PLC, Civil Action No. 14-1103-RGA,

2015 WL 4640400, at *3 (D. Del. Aug. 5, 2015).

       Align has adequately pleaded direct infringement of the method claims identified above.

As Align confirmed during argument, and as its Complaint indicates, Align is alleging that both

of the Defendants did everything. (Tr. at 51) The allegations must at this stage, be taken as true.

Time will tell if plaintiff can prove them.

               3.      Indirect Infringement

       Indirect infringement consists of two different theories: induced infringement and

contributory infringement. See Courtesy Prods., L.L.C. , 73 F. Supp. 3d at 440 (citing 35 U.S.C.

§ 271(b) & (c)). Under§ 271(b), "whoever actively induces infringement of a patent shall be

liable as an infringer." To prove induced infringement, the patentee "'must show direct

infringement, and that the alleged infringer knowingly induced infringement and possessed

specific intent to encourage another's infringement. "' Princeton Dig. Image Corp. v. Ubisoft

Entm 't SA, Civil Action No. 13-335-LPS-CJB, 2016 WL 6594076, at *3 (D. Del. Nov. 4, 2016)

(quoting Toshiba Corp. v. Imation Corp., 681 F.3d 1358, 1363 (Fed. Cir. 2012)) Contributory

infringement under§ 271(c) requires a patentee to demonstrate that the alleged infringer "has

sold, offered to sell or imported into the United States 'a component of a patented machine,

manufacture, combination or composition, or a material or apparatus for use in practicing a

patented process ... knowing the same to be especially made or especially adapted for use in an


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infringement of such patent, and not a staple article or commodity of commerce suitable for

substantial noninfringing use."' Id.

       To state a plausible claim for induced or contributory infringement, the plaintiff "must,

inter alia, sufficiently allege some underlying act of direct infringement." Varian Med. Sys., Inc.

v. Elekta AB, Civil Action No. 15-871-LPS, 2016 WL 3748772, at *3 (D. Del. July 12, 2016)

(citing Limelight Networks, Inc. v. Akamai Techs., Inc., 134 S. Ct. 2111 , 2117 & n.3 (2014)).

Additionally, for both types of indirect infringement, plaintiff must "allege facts allowing the

reasonable inference that the defendant had knowledge of the patent-in-suit in the key time

period, and that its products infringed that patent." Princeton Dig. Image Corp., 2016 WL

6594076, at *4.

       As already explained, Align has adequately alleged underlying acts of direct infringement.

The Court now concludes Align has also adequately alleged Defendant's knowledge and intent.

       The allegations Align asserts give rise to a plausible showing of 3Shape's pre-suit

knowledge of the patents-in-suit, and can be fairly summarized as follows: (1) through

knowledge of Align's intraoral scanners, which are covered by the patents-in-suit; (2) through its

prior business dealings with Align and another intraoral scanner company (Cadent) acquired by

Align in 2011; (3) through 3Shape's own patent prosecution activities, "wherein Align's patents

at issue and/or family members were cited as prior art," including the ' 916, '364, ' 330, ' 757

patents; (4) through 3Shape' s U.S . Food and Drug Section 51 0(k) premarket notification of

intent to market the accused products; (5) through direct competition between 3Shape and Align,

where 3Shape had the intent to directly compete with Align using the accused products; (6)

through the small number of competitors in the market for intraoral scanners; and (7) because the


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accused products are "knockoff products." (D.I. 1 at ,r,r 29-30; D.I. 25 at 9-10 (citing D.I. 1 at ,r,r

29-30, 35, 42))

       3 Shape points to authority supporting the proposition that none of these facts, standing

alone, makes a finding of pre-suit knowledge plausible. (See D.I. 22 at 8-9 (citing cases); D.I. 26

at 6-7 (citing cases)) When viewed as a whole, however, Align' s allegations here are sufficient.

See, e.g. , Elm 3DS Innovations, LLC v. Samsung Elecs. Co., 2015 WL 5725768, at *2-3 (D. Del.

Sept. 29, 2015) (finding that allegations about patent' s ubiquity in semi-conductor industry,

combined with allegations that defendants received presentation regarding parent of patent in-suit

at issue and had cited to four patents that shared specifications with that patent, made pre-suit

knowledge allegation plausible).

                  4.   Willful Infringement

       In Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1926 (2016), the Supreme Court

abrogated the Federal Circuit' s "objective recklessness" standard for willful infringement, adding

that "[a] patent infringer's subjective willfulness, whether intentional or knowing, may warrant

enhanced damages." The Court also explained that enhanced damages under 35 U.S.C. § 284

"should generally be reserved for egregious cases typified by willful misconduct. " Id. at 1934.

       3Shape argues that Align's willful infringement allegations are insufficient because: (1)

Align fails to allege pre-suit knowledge of the patents-in-suit; and (2) Align has failed to include

facts supporting its allegation that 3 Shape acted '" in an egregious and wanton manner.' " (D .I. 22

at 12-13 (citing D.I. 1 at ,r 42)) The Court has already concluded that Align's allegations ofpre-

suit knowledge are sufficient.

       3Shape's remaining arguments, with respect to courts, including ones in this District,


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have conflicting views as to the necessity of pleading egregious conduct in order to state a

plausible claim of willful infringement. Compare Valinge Innovation AB v. Halstead New

England Corp., 2018 WL 2411218, at *6 (D. Del. May 29, 2018) (finding that " ' egregiousness '

should not be a part of the calculus for determining whether a patentee has set out a plausible

claim of willful infringement"); Bio-Rad Labs. Inc. v. Thermo Fisher Sci. Inc. , 267 F. Supp. 3d

499, 501 (D. Del. 2017) ("At the pleading stage, it is not necessary to show that the case is

egregious.") with Varian Med. Sys., Inc., 2016 WL 3748772, at *8 (" [T]he [c]omplaint does not

sufficiently articulate how the [defendants' ] making, using, or offering for sale of the [accused

product] actually amounted to an egregious case of infringement of the patent.").

       This Court sides with those decisions that do not require allegations of egregiousness at

the pleading stage. The issues of "willful infringement" and whether to enhance damages are

two separate inquiries - the former being a question of fact (often for a jury), the latter a question

of law for the Court. See WBIP, LLC v. Kohler Co. , 829 F.3d 1317, 1341 & n.13 (Fed. Cir.

2016) (" [T]he factual components of the willfulness question should be resolved by the jury.");

see also Valinge Innovation AB, 2018 WL 2411218 , at *6-9. For willful infringement, then, a

plaintiff need (only) plausibly allege that "the accused infringer: (1) knew of the patent-in-suit;

(2) after acquiring that knowledge, it infringed the patent; and (3) in doing so, it knew, or should

have known, that its conduct amounted to infringement of the patent." Valinge Innovation AB,

2018 WL 2411218, at * 13. Align has adequately alleged each of these elements. The Court need

not determine whether it has also adequately alleged egregious conduct (proof of which will be

necessary to obtain enhanced damages).

       Align has plausibly alleged a claim for willful infringement of the asserted patents here.


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First, for the reasons discussed above, the Court found that Align sufficiently alleged pre-suit

knowledge of the asserted patents. Additionally, it is alleged that 3Shape continued to sell

"knockoff products" that infringed the asserted patents. (D.I. 25 at 13 (citing D.I. 1 at ,r 42)) At

this stage of the case, no further allegations are required.

       B.      Patentable Subj ect Matter Under Section 101

                1.     The '873 Patent

       The '873 patent is entitled "Automatic Selection and Locking of Intraoral Images" and

relates to a "method of locking intraoral images and generating a model based on both the locked

images and the updated scans." (D.I. 1 at ,r 78) Claim 1 of the ' 873 patent recites:

                1.     A method, comprising:

               receiving an intraoral image of a first intraoral site;

               determining an identity of the first intraoral site;

               algorithmically performing the following by a processing device:

                       locking the intraoral image; and

                       selecting, based at least in part on the identity of the first
                       intraoral site, a portion of the intraoral image depicting a
                       portion of the first intraoral site; and

                       generating a model comprising the first intraoral site based
                       at least in part on the locked intraoral image, wherein the
                       portion of the locked intraoral image is used for a first
                       region of the model, and wherein data from one or more
                       additional intraoral images that also depict the portion of
                       the first intraoral site is not used for the first region of the
                       model.

                        a.      Step One

       At step one of the Alice/Mayo test, the question is whether the asserted claims are directed


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to a patent-ineligible concept. " [A]ll inventions at some level embody, use, reflect, rest upon, or

apply laws of nature, natural phenomena, or abstract ideas." Mayo , 132 S. Ct. at 1293. Thus,

"an invention is not rendered ineligible for patent simply because it involves" a patent-ineligible

concept. Alice, 134 S. Ct. at 2354. "Indeed, to preclude the patenting of an invention simply

because it touches on something natural would ' eviscerate patent law."' Rapid Litig. Mgmt. Ltd.

v. CellzDirect, Inc. , 827 F.3d 1042, 1050 (Fed Cir. 2016) (quoting Mayo, 132 S. Ct. at 1293).

"At step one, therefore, it is not enough to merely identify a patent-ineligible concept underlying

the claim; we must determine whether that patent-ineligible concept is what the claim is ' directed

to."' Id.

        3Shape argues that the claims of the ' 873 patent are directed to the abstract idea of

"collecting, analyzing, and using data, without any improvement to a computer itself or another

technical area." (D.I. 22 at 15 ; see also D.I. 29 at 11) Align responds that claim 1 of the ' 873

patent is instead "directed to an improved method for generating a model of an intraoral site."4

The Court agrees with Align.

        Claim 1 of the ' 873 patent purports to solve a problem with prior approaches to the

generation of a model of an intraoral site, specifically by providing for the locking of a first

image of an intraoral site so that subsequent scans do not interfere with that first image. (D.I. 25

at 18-19) As described in the specifications, a dental implant, such as a crown, is placed on a

tooth that has been ground down to a stump. The border between that tooth' s "unground"

portion and the "ground" portion is called a "finish line." (' 873 patent, col. 5:17-24) A good fit


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         Prior to the hearing, the parties disputed whether claim 1 was representative. (Compare
D.I. 25 at 15-16 with D.I. 29 at 11 n.2) At the hearing 3Shape agreed to limit its§ 101 challenge
(for now) to claim 1. (See Tr. at 73)

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between the implant and the stump, along the finish line, is important to prevent infections and

tooth decay. (Id., col. 1:17-28) In order to ensure a good fit for the implant, a practitioner will

create a model of the stump and surrounding intraoral area. To ensure a good scan of the finish

line, the practitioner will wipe away blood and saliva from the stump and, "[i]n some instances, .

. . insert a cord around the [stump] between the [stump] and the patient's gum." (Id. , col. 5:40-

45) This cord holds the gum down so that the entire finish line is exposed for the first scan,

however the gum "revert[ s] back to its natural position, and in many cases collapse[ s] back over

the finish line, after a brief period." (Id. , col. 5:45-49)

       A problem with prior art approaches is that additional scans taken after the first set of

intraoral scans could degrade the quality of the finish line in the model. (Id., col. 2:30-39) These

additional scans were taken to ensure that the implant would fit inside the patient' s mouth. (Id. ,

col. 5:64-66) However, the scans could also capture parts of the stump area captured by the first

intraoral scans. When this happened, prior approaches would average the data received depicting

the stump area with the first images of the stump area, which would "degrade the quality of the

first tooth in the 3D model." (Id. , col. 2:34-39) The degradation in quality could cause the finish

line, as depicted in the 3D model, to lack definition and make it impossible "to properly

determine the finish line, and thus the margin of a restoration [i.e., the fit between the stump and

the implant] may not be properly designed." (Id. , col. 1:22-28) Claim 1 of the '873 patent

purportedly improved on these approaches "by automatically locking the images of the clean

stump such that subsequent scans that may capture the unclean stump are ignored during the

creation of the model." (D.I. 25 at 19) (citing '873 patent, cols. 5:66-6:3)

        3Shape contends that Align' s asserted improvement over prior approaches is not captured


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in the claim language. (D.I. 29 at 12) Specifically, 3Shape argues that "[t]he claims fail to

mention, much less require, an ' improved method for generating a model of an intraoral site,'

and do not provide any explanation as to how such improvement might be accomplished." (Id. at

12-13; See also generally Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat '!

Ass'n, 776 F.3d 1343, 1346 (Fed. Cir. 2014) ("We focus here on whether the claims of the

asserted patents fall within the excluded category of abstract ideas."). The Court concludes that

the asserted improvement is captured in the claim.

       The asserted improvement is achieved by locking the first intraoral scan of a stump to

prevent future scans that capture part of that same area from being combined with that first image

and degrading its quality (making it harder to establish a clear finish line). (D.I. 25 at 19-20;

' 873 patent, cols. 1:24-28, 2:13-39) That asserted improvement is directly captured in claim 1:

"A method, comprising .. . receiving an intraoral image of a first intraoral site; ... locking the

intraoral image; . .. and generating a model comprising the first intraoral site based at least in

part on the locked intraoral image, wherein the portion of the locked intraoral image is used for a

first region of the model, and wherein data from one or more additional intraoral images that also

depict the portion of the first intraoral site is not used for the first region of the model." ('873

patent, cl. 1) Here, then, the claim is directed to that concept and not the abstract idea put

forward by 3Shape.

       Accordingly, 3 Shape's motion will be denied with respect to § 101 and the ' 873 patent. 5

                 2.      The '065 Patent

       The '065 patent, entitled "Method for Defining a Finish Line of a Dental Prosthesis",


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           It is not necessary to address step 2.

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provides "a method that enables a dental practitioner to define a finish line of a dental prosthesis

of at least one tooth to be fitted over a tooth preparation." (D.I. 1at163) Claim 1 of the '065

patent recites:

                  1.      A computer-based prosthodontic method for enabling a
                  dental practitioner to define a finish line of a dental prosthesis of at
                  least one tooth to be fitted over a tooth preparation, comprising:

                  (One) providing a three-dimensional (3D) digital data relating to
                  the patient' s dentition, said 3D data includes data representative of
                  the surface topology of said preparation and its surroundings;

                  (Two) generating first finish line data representative of at least a
                  portion of said finish line and superimposing an image of said
                  finish line on an image of said dentition;

                  (Three)[]obtaining second finish line data determined on the basis
                  of input received from a dental practitioner; and

                  (Four) using said second finish line data to update said first finish
                  line data and superimposing the updated data on the dentition
                  image.

('065 patent, cl. 1)

                          a.      Step One

       3Shape argues that claim 1 of the ' 065 patent is directed to the "abstract concept of

modifying a finish line of a dental prosthesis - - a concept well-known in the prior art." (D.I. 22

at 19) Specifically, 3Shape asserts that "claim 1 is directed ... to nothing more than performing

steps of this well-known process using basic computer functions ." (Id.) Align counters that

claim 1 "provides a novel way of obtaining a good finish line for placing a dental implant." (D.I.

25 at 22) The Court agrees with 3Shape.

        As described in the specification, prior to the instant patent, a dentist would create a cast



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of an "abutment tooth" (referred to in the ' 873 patent discussion as the stump) in order make an

artificial crown for that tooth. ('065 patent, col. 1:15-25) The process entailed the dentist first

cutting the tooth (down to a stump) and preparing two impressions and a wax bite of the patient's

jaws. (Id., col. 1:47-50) A technician would use those impressions and wax bite, along with

instructions from the dentist, to create a cast. (Id. , col. 1:50-52) The cast version of the stump

would be removed from the plaster cast to expose the finish line. (Id., col. 1:52-55) The finish

line was marked by the technician in ink, alternatively, a virtual 3D image of the cast was made

and the technician marked the finish line on the 3-D version. (Id. , col. 1:55-63) At times,

however, the finish line was "not clear and the transition between the cut area to the biological

area [was] not well defined." (Id. , col. 2:6-8) In those instances, the technician would "either

estimate himself where the line [was] or return[] the cast (or virtual 3D model) to the dentist for

him to complete the finish line while in other cases the boundary was so blurred "that only the

dentist himself [was] able to assess the cut area . .. and . .. define the finish line." (Id. , col. 2: 8-

14) There may have been multiple iterations between the dentist and technician in order to

identify the finish line. (Id. , col. 4:33-38)

       Align argues: " [t]he ' 065 patent provides an innovation that eliminates the need for the[]

inefficient further iterations" between the dentist and technician to define the finish line. (D.I. 25

at 22) Instead, "the lab technician generates a 3D model and generates an initial finish line that is

then conveyed to the dentist on a computer." (Id.) (citing ' 065 patent, col. 4: 1-5) "The dentist

then provides any updates to the finish line before the crown is constructed." (Id.) (citations

omitted) Thus, rather than have multiple iterations with the technician, the dentist can view, "on

the spot, an image of the patient's dentition and ... immediately refine the finish line generated


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by the lab." (Id. at 23) (citing ' 065 patent, col. 4:26-28)

       Putting aside, for the moment, the claim's references to computers and computer

functionality, the claim recites nothing more than the procedure by which dentists and

technicians previously marked a finish line prior to manufacturing an artificial crown (i.e., the

abstract concept of modifying a finish line of a dental prosthesis). Claims are often found

abstract when "all of the steps of the claim could be performed by humans in non-computerized .

. . contexts." Intellectual Ventures I LLC v. Symantec Corp., 100 F. Supp. 3d 371,383 (D. Del.

2015), rev'd-in-part on other grounds, 838 F.3d 1307; see also Voter Verified, Inc. v. Election

Sys. & Software LLC, 887 F.3d 1376, 1385 (Fed. Cir. 2018) (finding that "claims as a whole

[were] drawn to the concept of voting, verifying the vote, and submitting the vote for tabulation,"

which humans had performed for hundreds of years) ; Content Extraction, 776 F.3d at 1347

(finding that claims "drawn to the abstract idea of 1) collecting data, 2) recognizing certain data

within the collected data set, and 3) storing that recognized data in a memory," which were

"well-known" and "humans have always performed these functions").

       The '065 patent itself describes the exact scenario embodied by claim 1, but instead of the

technician marking the cast (or, as also disclosed in the specification, marking a 3D model) ('065

patent, col. 2:6-10) and returning the cast to the dentist to have her then provide a mark for the

finish line, the same is done on a computer. (See, e.g., id., col. 2:45-50) (" [T]he present

invention provides a computer-based system for enabling a dental practitioner to define a finish

line of a dental prosthesis of at least one tooth to be fitted over a tooth preparation.")

       Align's argument- that the patent improves over prior approaches by removing the need

for multiple iterations of marks between the technician and the dentist - is merely the result of


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the use of computer technology to mark the dentitions rather than marking the dentitions

physically. Such routine computer functionality does not render a claim non-abstract at step 1.

See, e.g., Kaavo Inc. v. Amazon.com Inc., 2018 WL 3032505, at *6 (D. Del. June 18, 2018)

(disclosing a "cloud computing environment" was not a "particular improvement in the

computers functionality"). This is no "technological improvement" at step one, including for the

' 873 patent discussed above. 6

       Having found that claim 1 is directed to the abstract idea of modifying a finish line of a

dental prosthesis, the Court will move on to step two.

                       b.         Step Two

       As detailed above, at step two the Court evaluates whether the claim captures an inventive

concept beyond what was well-understood, routine, and conventional in the relevant field at the

time of the invention. 3Shape argues that claim 1 of the '065 patent is nothing more than the

abstract idea of modifying a finish line on a dental prosthesis "performed on a computer." (D.I.

22 at 20) To 3Shape, "nothing in the claim[] or in the body of the ' 065 patent teaches or suggests

that the claimed method offer[ s] any improvement (in precision or otherwise) in the formation of

a finish line over that previously known in the art." (Id.) Align responds that "the ' 065 patent

offers substantial improvement in patient and dentist time involvement and resource utilization,

as the invention enables the dentist to view and refine the model on the spot, rather than

undertaking iterations with the lab technician." (D.I. 25 at 24)



       6
        Align also asserts that claim 1 of the ' 065 patent "specifies that the finish line must be
generated in a unique and particular way" and restrains the type of data that can be used for
updating the finish line in an improved manner." (D.I. 25 at 23) (internal quotation marks
omitted) This argument is not substantively briefed.

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       All of the purported improvements by Align are the result of using a generic computer - -

but performing an abstract concept on a generic computer is not an inventive concept. In

Intellectual Ventures I LLC v. Capital One Bank (USA) , 792 F.3d 1363, 1370 (Fed. Cir. 2015),

the Federal Circuit explained that "precedent is clear that merely adding computer functionality

to increase the speed or efficiency of [a] process does not confer patent eligibility on an

otherwise abstract idea." See also Alice Corp, 134 S. Ct. at 2358 ("Stating an abstract idea while

adding the words 'apply it with a computer"' does not "transform a patent-ineligible abstract idea

into a patent-eligible invention."). Here, the purported inventive concept of saving time because

the dentist can "view and refine the model on the spot" is merely the benefit of the dentist being

able to place a finish line on a 3D model by virtue of its transmission via a computer and

computer network instead of the technician having to send the dentist a physical model to mark.

       For these reasons, the Court finds that claim 1 of the '065 patent is directed to patent-

ineligible subject matter under Section 101. 7

               3.      The '850 Patent8

       The '850 patent is entitled "Teeth Viewing System" and generally recites a method for



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         There has been no argument that the components and/or computer disclosed in the '065
patent were anything other than conventional components and/or computers performing their
normal tasks. (See ' 065 patent, col. 3 :50-57 (indicating that embodiment of invention can be
implemented on personal computers); see also id. , col. 4:5-6 (explaining that the computer in
Figure 1 includes processor, display, and user interface)) Thus, there is no fact dispute as to this
issue that prevents the Court from finding that claim 1 of the '065 patent contains no inventive
concept at Alice's step two. See Berkheimer, 881 F.3d at 1370 (finding that claim lacked
inventive concept because it "amounted to no more than performing the abstract idea ... with
conventional computer components").
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        Hereafter, citations to the docket refer to documents filed in C.A. No. 17-1647-LPS-
CJB, unless otherwise indicated.

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"creating a plan for repositioning a patient' s teeth." (D.I. 1 at ,r 107) Claim 1 of the '850 patent

recites:

                   1.     A method for displaying an orthodontic view of a patient's
                  teeth, comprising:

                  capturing three-dimensional (3D) data associated with the patient' s
                  teeth;

                   determining a viewpoint for the patient's teeth;

                  apply[ing] a positional transformation to the 3D data based on the
                  viewpoint;

                  rendering a graphical representation of the patient's teeth based on
                  the positional transformation;

                   determining a treatment plan for each tooth; and

                  updating the graphical representation of the teeth to provide a
                  visual display of the position of the teeth along the treatment plans.

('850 patent, cl. 1) 3Shape asks the Court to dismiss Align' s claims for infringement of the ' 850

patent because, in 3Shape' s view, the ' 850 patent is directed to patent-ineligible subject matter.

                          a.      Step One

           3Shape argues that claim 1 of the ' 850 patent "is directed to the abstract concept of

describing an orthodontic 'treatment plan' [that] involv[es] nothing more than the simple steps of

collecting, manipulating, and displaying images of a patient's teeth." (D.I. 22 at 15) Align

counters that the claim "is directed to a method for displaying an orthodontic view of a patient' s

teeth." (D.I. 25 at 19) In particular, according to Align, the "claim 1 is directed to a particular

improved non-conventional manner of enabling a dental practitioner to provide a treatment plan

to a patient." (Id.) The Court agrees with 3Shape.



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       The patent discloses that orthodontists are tasked with straightening a patient' s crooked

teeth. (' 850 patent, col. 1: 16-17) One way orthodontists do so is through the use of braces.

"Before fastening braces to a patient' s teeth, at least one appointment is scheduled . . . so that X-

rays and photographs of the patient's teeth andjaw structure can be taken." (Id. , col. 1:27-30) A

mold of the patient' s teeth is typically also made. (Id. , col. 1:31-33) Orthodontists use the X-

rays, photographs, and mold "to formulate a treatment strategy." (Id. , col. 1:33-35) "The

formulation of the treatment strategy is typically a trial-and-error process where the orthodontist

arrives at the treatment strategy using a mental model based on the orthodontist's experience and

skill." (Id., col. 1:38-42) Additionally, "once the treatment strategy has been generated, it is

difficult to explain the expected results to the patient in words. " (Id. , col. 1:44-46)

       The ' 850 patent purports to improve on "conventional practices ... by utilizing 3D

visualization to communicate treatment information to the patient." (D.I. 25 at 18) (citing ' 850

patent, col. 2:30-33) Align specifies that the key inventive concept of the ' 850 patent is that of

enabling an orthodontist to "present[] a graphical representation of the patient' s teeth to the

patient and utilizing that representation to discuss and decide on treatment options." (Id. at 20)

The 3D representation of the patient's teeth can include different angles and views of the teeth as

well as animations "to provide a visual display of the movement of the teeth along the treatment

paths." ('850 patent, cols. 1:60-2:2; see also D.I. 25 at 19) These "innovative features of the

'850 patent provide the ability to visualize and interact with numerous digital models and

processes without the attendant danger, impracticality, or significantly greater expense

encountered in the same environment if it were physical." (D.I. 25 at 18-19) (citing ' 850 patent,

col. 2:50-55)


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       In the Court' s view, claim 1 of the ' 850 patent is directed to the abstract concept of

describing an orthodontic treatment plan. By Align' s own admission, "the generic idea of

iteratively updating a treatment plan . .. existed prior to the invention." (Id. at 19) Further, as

disclosed in the patent, an updated treatment plan was previously formulated in the mind of the

orthodontist. ('850 patent, col. 1:38-42) Here, claim 1 of the ' 850 patent requires the capturing

of 3D data of a patient's teeth, determining a viewpoint, transforming the 3D data based on that

viewpoint, rendering a graphical representation of the patient's teeth, determining a treatment

plan for each tooth, and updating the graphical representation of the teeth to provide a display of

the teeth along the treatment paths. (Id. , cl. 1) Even though an orthodontist could not show a

patient her mental model, she could express that mental model of the treatment plan to the patient

using, for instance, photographs, physical models, or drawings. See Intellectual Ventures I LLC,

100 F. Supp. 3d at 383 (explaining that claim is abstract when "all of the steps of the claim could

be performed by humans in non-computerized . .. contexts"); Enfish, LLC, 822 F.3d at 1336

(finding claim at issue was abstract idea "for which a computer [was] used in its ordinary

capacity" and "merely as a tool").

       The cases Align relies on for support do not persuade the Court otherwise. For example,

in Core Wireless Licensing S.A.R.L. v. LG Elecs., Inc., 880 F.3d 1356, 1356 (Fed. Cir. 2018), the

Federal Circuit found that the claims at issue were "directed to an improved user interface for

computing devices, not to the abstract idea of an index." The Court further explained that

"[a]lthough the generic idea of summarizing information certainly existed prior to the invention,

[the claims at issue] are directed to a particular manner of summarizing and presenting

information in electronic devices ." Id. And like the "improved systems" claimed in other cases,


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the claims at issue "recite a specific improvement over prior systems, resulting in an improved

user interface for electronic devices." Id. at 1362.

       Unlike the claims at issue in Core Wireless, claim 1 of the ' 850 patent is not purporting to

provide a technological improvement to prior systems. Rather, claim 1 is more akin to the claims

at issue in cases like Alice, which found "the concept of intermediated settlement [was] a

fundamental economic practice long prevalent in our system of commerce." Alice, 134 S. Ct. at

2356 (internal quotation marks and citation omitted). Similarly, claim 1 recites the formation of

a treatment plan for orthodontic patients, a practice that has long been performed.

       Thus, claim 1 of the ' 850 patent is directed to the abstract idea of describing an

orthodontic treatment plan, and the Court must proceed to step two.

                       b.      Step Two

       3Shape argues that claim 1 of the ' 850 patent does "nothing more than automate a process

that humans do already, using known and conventional computer functions recited at a high-level

of generality for rendering a display of a patient' s treatment plan." (D.I. 22 at 17) Align counters

that 3Shape is overlooking the "key inventive concepts embodied in the ' 850 patent, including

updating the graphical representation of the teeth to provide a visual display of where along the

treatment plan the teeth are positioned, enabling orthodontists and patients to track the progress

of the treatment plan contemporaneously." (D.I. 25 at 21)

       The benefit of allowing an orthodontist to more easily explain a treatment plan to a patient

via a 3D model, while an improvement over explaining the plan verbally, is not a technological

improvement that supplies an inventive concept. Instead, claim 1 merely recites the abstract idea

of providing a treatment plan along with generic computer functionality.


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       The patent's abstract describes the invention as follows: "A computer is used to create a

plan for repositioning an orthodontic patient's teeth. The computer receives a digital data set

representing the patient' s teeth and uses the data sets to generate one or more orthodontic views

of the patient's teeth." ('850 patent, Abstract; see also id. , col. 1:13-15 ("The invention relates

generally to the field of orthodontics and, more particularly, to computer-automated development

of an orthodontic treatment plan and appliance.")) "For the role of a computer in a computer-

implemented invention to be deemed meaningful in the context of [the Alice] analysis, it must

involve more than performance of 'well-understood, routine, [and] conventional activities

previously known to the industry. "' Content Extraction, 776 F.3d at 1347-48 (quoting Alice, 134

S. Ct. at 2359). The ' 850 patent does not disclose a new method by which a 3D model of teeth

could be made, or the method by which a 3D model can be repositioned virtually to display a

different angle. (See '850 patent, col. 3:56-63 ("[T]he patient's teeth may be scanned or imaged

using well known technology, such as X-rays, three-dimensional X-rays, computer-aided

tomographic images or data sets, and magnetic resonance images. . . . [These] methods for

digitizing such conventional images to produce useful data sets are well known and described in

the patent and medical literature.")) Instead, the patent calls for the abstract idea of a treatment

plan to be implemented on a generic computer. This is insufficient to meet the inventive concept

requirement. Thus, claim 1 of the ' 850 patent is directed to patent ineligible subject matter under

Section 101.

               4.      The '149 Patent

       The ' 149 patent, "Systems and Methods for Fabricating a Dental Template," and relates

generally to "fabricating a dental template to support [the] positioning [of] an object on a


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patient's tooth[,] oriented in such a way that all the objects as a whole are lined up to a user

defined ideal arrangement." (D.I. 1at192) Claim 13 of the '149 patent recites:

               13 .    A system of fabricating a dental template to position a
               plurality of objects on a patient's teeth, the system comprising a
               computer comprising storage media comprising a program that,
               when executed, causes the computer to :

               receive digitized teeth of at least at least two of the patient' s teeth;

               scale the digitized teeth to provide scaled digital teeth;

               add virtual objects to locations on the digitized teeth or the scaled
               or the scaled digital teeth, wherein the virtual objects are placed on
               one or more of the digitized teeth or the scaled digital teeth;

               superimpose the scaled digital teeth over the digitized teeth; and

               output fabrication data for fabricating a template to locate the
               orthodontic objects on the patient's teeth.

('149 patent, cl. 13)
                        a.     Step One

       3Shape argues that claim 13 of the ' 149 patent is directed to the abstract idea of

providing, generating, or outputting "a pattern of data." (D .I. 22 at 18-19) 3 Shape adds that

"fabricating a dental template" is only alluded to "in the preamble and as an intended use of the

data 'output' by the claimed computer software of asserted claim 13 ." (Id. at 19) The Court

agrees with Align that claim 13 is directed to an improvement over prior approaches to indirect

bonding techniques for orthodontic brackets. (D.I. 25 at 22)

       The patent explains that orthodontists use brackets bonded to a patient's teeth that, over

time, exert enough force to move the position of the teeth. (' 149 patent, col. 1: 19-30) Direct

bonding of brackets entails placing adhesive on the base of the bracket and placing that bracket



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on the patient's tooth. (Id. , col. 1:29-32) This process has several shortcomings, including that it

is difficult to optimally place a bracket "on severely crowded teeth" or "the treatment provider

may have difficulty seeing the precise position of the bracket relative to the tooth surface" for

posterior teeth. (Id. , col. 1:36-42) One method that overcomes several of these shortcomings is

"indirect bonding," in which an impression of a patient's teeth is taken and a plaster model is

made. (Id., col. 1:50-54) Brackets are then temporarily bonded to the plaster model and

thereafter a "transfer tray is ... made by placing matrix material [such as heated plastic sheet

matrix material] over both the model and the brackets on the model." (Id. , col. 1:56-59) The

material "then assume[s] a configuration that precisely matches the shape of the replica teeth of

the stone .. . model with the brackets in the desired position." (Id., col. 1:59-62) The temporary

adhesive is then removed, permanent adhesive is added to the base of each bracket, "and the tray

with the embedded brackets [is] then placed over matching portions of the patient' s dental

arches." (Id. , col. 1:63-67) Once the adhesive hardens, the matrix material is removed and the

brackets are left in place. (Id. , col. 2:5-7)

       Problems associated with indirect bonding include that "brackets may become dislodged

during the removal of the matrix from the dental arches." (Id., col. 2:7-10) But the '149 patent

purports to be an advance over this prior approach because the template created by the claimed

system and methods "may not necessarily contain the bracket as with traditional indirect bonding

[] templates, but rather[] directs the user as to the precise location where the bracket should be

placed based on geometric fit." (Id., col. 2:57-60; see also D.I. 25 at 22) This eliminates the

potential that the brackets may become dislodged during the removal of the template.

       At step one, the Court must determine whether the claims "focus on a specific means or


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method that improves the relevant technology." Apple Inc. v. Ameranth, Inc., 842 F.3d 1229,

1241 (Fed. Cir. 2016) (internal quotation marks and citation omitted); see also RecogniCorp, 855

F.3d at 1326. Here the relevant technology consisted of templates that, in some instances, could

dislodge orthodontic brackets during their removal from the patient's mouth. Claim 13 of the

'149 patent purports to fix this problem by disclosing a method for creating a template that could

guide the placement of the brackets without the brackets necessarily being contained within the

template does not rebut this point. (See D.I. 29 at 13-14) 3Shape has not, therefore, persuaded

the Court that the claim is directed to an abstract idea.

       As 3Shape has not met its burden at step one, it is not necessary to address step two, and

3Shape's motion will be denied as to the ' 14 9 patent.

V.     CONCLUSION

        An order appropriate order follows .




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